     Case 16-25353      Doc 102     Filed 02/16/22 Entered 02/16/22 12:14:17        Desc Main
                                     Document     Page 1 of 6



                            United States Bankruptcy Court
                              Northern District of Illinois
                                Eastern Division

IN RE: Michelle Y. Powell                 )
                                          )      Chapter 13
                                          )
       DEBTOR                             )      Case No. 16-25353
                                          )
                                          )      Judge: Goldgar


To:
Michelle Powell, 649 E. 50th St., 20E, Chicago, IL 60615


Trustee Stearns, 801 Warrenville Road, Suite 650 Lisle, IL60532 (via electronic notice)


And see attached service list
                                     NOTICE OF MOTION

PLEASE TAKE NOTICE that on Friday, February 18, 2022 at 10:00 a.m., I
will appear before the Honorable Judge Goldgar, or any judge sitting in that
judge’s place, and present the motion to Modify Plan and Extend Plan
Payments, a copy of which is attached. This motion will be presented and
heard electronically using Zoom for Government. No personal appearance in
court is necessary or permitted.


To appear and be heard on the motion, you must do the following: To appear
by video, use this link: https://www.zoomgov.com/. Then enter the meeting ID
and password. To appear by telephone, call Zoom for Government at 1-669-
254-5252 or 1-646-828- 7666. Then enter the meeting ID and
password.Meeting ID and password. The meeting ID for this hearing is 160
817 7512 and the password is 623389. The meeting ID and password can
also be found on the judge’s page on the court’s web site.


If you object to this motion and want it called on the presentment date above,
you must file a Notice of Objection no later than two (2) business days before
that date. If a Notice of Objection is timely filed, the motion will be called on
the presentment date. If no Notice of Objection is timely filed, the court may
grant the motion in advance without a hearing.
      Case 16-25353         Doc 102     Filed 02/16/22 Entered 02/16/22 12:14:17                   Desc Main
                                         Document     Page 2 of 6


                                                                 By: /s/ Joseph P Doyle______
                                                            Joseph P. Doyle, Attorney for debtor




                                            Certification

CERTIFICATE OF SERVICE I, Joseph P. Doyle, certify under penalty of
perjury under the laws of the United States of America that I served a copy of
this notice and the attached motion on each entity shown on the attached list
at the address shown and by the method indicated on the list on February 16,
2022 at 4:30 p.m.

                                                            By: /s/Joseph P. Doyle
                                                                 Attorney for debtor

Attorney for the Debtor_________
Prepared By : Joseph P. Doyle
Law Offices of Joseph P. Doyle
105 S. Roselle Road, Suite 203
Schaumburg, IL 60193
(Ph): 847-985-1100 (Fax) 847-985-1126
     Case 16-25353         Doc 102     Filed 02/16/22 Entered 02/16/22 12:14:17   Desc Main
                                        Document     Page 3 of 6




                                             SERVICE LIST


Registrants Served Via Electronic

Patrick S. Layng, United States Trustee
219 South Dearborn Street, Suite 873
Chicago, IL 60604

Trustee Glenn Stearns
801 Warrenville Road St.
Suite 650
Lisle, IL 60532

Atlas Acquisitions LLC
294 Union St.
Hackensack, NJ 07601

Capital One Auto Finance
P.O. BOX 201347
ARLINGTON, TX 76006

Capital One Auto Finance c/o AIS Portfolio Services, LP
P.O. BOX 4360
Houston, TX 77210-4360

Capital One Auto Finance c/o AIS Portfolio Services, LP f/k/a AIS Data Services
d/b/a/ Ascension Capital Group
4515 N Santa Fe Ave. Dept. APS
Oklahoma City, OK 73118

Lakeview Loan Servicing, LLC
425 Phillips Boulevard
Ewing, NJ 08618

NCEP LLC
c/o Becket and Lee LLP
PO Box 3001
Malvern, PA 19355-0701

McCalla Raymer Pierce, LLC
1 N Dearborn Street
Suite 1200
Chicago, IL 60602
       Case 16-25353         Doc 102   Filed 02/16/22 Entered 02/16/22 12:14:17    Desc Main
                                        Document     Page 4 of 6




Parties Served Via First Class Mail

  Account Receivable Management           Advanced Endodontics                American Home Shield
  155 Mid Atlantic Parkway                103 S. Greenleaf, Suite K           P.O. Box 849
  Thorofare, NJ 08086                     Gurnee, IL 60031                    Carroll, IA 51401



  Ar Resources Inc                        Asset Acceptance, LLC               Associate Area Counsel, SB/SE
  1777 Sentry Pkwy W                      PO Box 2036                         200 W. Adams, Suite 2300
  Blue Bell, PA 19422                     Warren, MI 48090                    Chicago, IL 60606-5208



  Atlas Acquisitions LLC                  Avenue/WFNNB                        Bank Of America
  294 Union Street                        PO Box 659584                       Nc4-105-03-14
  Hackensack, NJ 07601                    San Antonio, TX 78265-9584          Po Box 26012
                                                                              Greensboro, NC 27410


  Caine & Weiner                          Capital One                         Capital One Auto Finance
  Po Box 5010                             P.O. Box 85520                      Attn: Bankruptcy Dept
  Woodland Hills, CA 91365                Richmond, VA 23285                  Po Box 30258
                                                                              Salt Lake City, UT 84130


  Chase                                   Chase Bank                          Chase Receivables
  800 Brooksedge Blvd.                    National Bank by Mail               1247 Browadway
  Westerville, OH 43081                   PO Box 36520                        Sonoma, CA 95476
                                          Louisville, KY 40233-6520


  Choice Recovery Inc                     Citibank                            City of Waukegan
  1550 Old Henderson Rd Ste 100           P.O. Box 6077                       Attn: Bankruptcy Dept.
  Columus, OH 43220                       Sioux Falls, SD 57117-6077          106 N. Martin Luther King Jr. Ave
                                                                              Waukegan, IL 60085


  Consumer Co-Op Credit Union             D. Patrick Mullarkey Tax Division   Fed Loan Servicing
  P.O. Box 9119                           P.O. Box 55                         Po Box 60610
  Waukegan, IL 60079                      Ben Franklin Station                Harrisburg, PA 17106
                                          Washington, DC 20044


  Fedloan Servicing                       First Premier Bank                  Fisher & Shapiro
  P.O. Box 69184                          601 S. Minnesota Avenue             2121 Waukegan
  Harrisburg, PA 17106                    Sioux Falls, SD 57104               Suite 301
                                                                              Deerfield, IL 60015
     Case 16-25353         Doc 102   Filed 02/16/22 Entered 02/16/22 12:14:17     Desc Main
                                      Document     Page 5 of 6


FMS, Inc.                               Global Receivables S                 Guaranty Bank
PO Box 707600                           2703 N Highway 75                    25 Turner Ave
Tulsa, OK 74170-7600                    Sherman, TX 75090                    Suite 101
                                                                             Elk Grove Village, IL 60007


Guaranty Financial Group                Home Choice                          HSBC Bank
1300 S. Mopac Expwy                     1511 N. Lewis Avenue                 P.O. Box 5253
Austin, TX 78746                        Waukegan, IL 60085                   Carol Stream, IL 60197



IDES                                    IDES                                 Illinois Department of Revenue
Benefits Repayments                     Benefits Repayments                  P. O. Box 64338
P.O. Box 6996                           PO Box 19286                         Chicago, IL 60664-0338
Chicago, IL 60680-3012                  Springfield, IL 62794


Internal Revenue Service                IRS                                  Keynote Consulting
Mail Stop 5010 CHI                      PO Box 7317                          220 W Campus Dr
230 S. Dearborn Street                  Philadelphia, PA 19101-7317          #102
Chicago, IL 60604                                                            Arlington Heights, IL 60004


Leading Edge Recovery Solutions         Liberty University                   LVNV Funding LLC
P. O. Box 505                           P.O. Box 10425                       P.O. Box 10497
Linden, MI 48451-0505                   Lynchburg, VA 24506                  Greenville, SC 29603



M & T Bank                              MCM                                  Med Business Bureau
Po Box 844                              8875 Aero Dr.                        1460 Renaissance Dr
Buffalo, NY 14240                       Suite 200                            Suite 400
                                        San Diego, CA 92123                  Park Ridge, IL 60068


Midland Funding, LLC                    NCO Financial Systems                Nelnet Loans
8875 Aero Dr. Ste 200                   507 Prudential Road                  Nelnet Claims
San Diego, CA 92123                     Horsham, PA 19044                    Po Box 82505
                                                                             Lincoln, NE 68501


Nelson, Watson, & Associates            PennCredit                           PORTFOLIO RECOVERY ASSOC
80 Merrimack Street                     946 S 14th St                        120 CORPORATE BLVD, STE 100
Lower Level                             PO Box 988                           Norfolk, VA 23502
Haverhill, MA 01830                     Harrisburg, PA 17108


Premier Bankcard/Charter                Professional Bureau of Collections   RAC Acceptance
PO Box 2208                             PO Box 628                           P.O. Box 5609
Vacaville, CA 95696                     Elk Grove, CA 95759-0628             Greenville, TX 75403
     Case 16-25353        Doc 102   Filed 02/16/22 Entered 02/16/22 12:14:17    Desc Main
                                     Document     Page 6 of 6


Receivable Management Services         Redline Recovery Services           RGS Collections
4836 Brecksville Road                  P.O. Box 1022                       3333 Earhart Drive, Suite 150
Richfield, OH 44286                    Fort Mill, SC 29716-1022            Carrollton, TX 75006



Spiegel                                Sprint/Bankruptcy                   State of Wisconsin
P.O. Box 9204                          PO Box 7949                         2135 Rimrock Road
Old Bethpage, NY 11804                 Overland Park, KS 66207-0949        P.O. Box 8906
                                                                           Madison, WI 53708-8906


Sunrise Credit Services                Transwolrd systems                  United Debt Holdings
260 Airport Plaza                      2235 Mercury way, Suite 275         P.O. Box 5609
Farmingdale, NY 11735-3946             Santa Rosa, CA 95407-5413           Greenville, TX 75403-5909



United States Attorney                 Victoria Secret/WFNNB               Vista Medical Center
219 S. Dearborn Street                 P.O. Box 182125                     PO Box 504316
Chicago, IL 60604                      Columbus, OH 43218-2125             Saint Louis, MO 63150-4316



Walmart                                Waste Management                    Weltman, Weinberg & Reis
PO Box 530939                          2625 W. Grandview Road, Suite 150   323 W. Lakeside Avenue, Suite 200
Atlanta, GA 30353-0939                 Phoenix, AZ 85023                   Cleveland, OH 44113



West Asset Management                  Williams & Fudge, Inc               Windham Professionals
P.O. Box 2548                          775 Addison Avenue                  382 Main Street
Sherman, TX 75091-2548                 Rock Hill, SC 29731                 Salem, NH 03079



World Financial Network
PO Box 182125
Columbus, OH 43218
